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 1 Forrest A. Hainline III (SBN 64166)
     E-Mail: fhainline@goodwinprocter.com
 2 Nicole E. Perroton (SBN 233121)
     E-Mail: nperroton@goodwinprocter.com
 3 GOODWIN PROCTER LLP
     Three Embarcadero Center, 24th Floor
 4 San Francisco, California 94111
     Tel.: 415.733.6000
 5 Fax: 415.677.9041
 6 Attorneys for Plaintiff
     Roger McIntosh
 7
 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10                                           FRESNO DIVISION

11 ROGER MCINTOSH,                                        Case No. 1:07-cv-01080-LJO-GSA
12                    Plaintiff,                          JOINT STIPULATION TO CONTINUE
                                                          CASE MANAGEMENT CONFERENCE
13            v.                                          AND [PROPOSED] ORDER
                                                          CONTINUING CASE MANAGEMENT
14 NORTHERN CALIFORNIA UNIVERSAL                          CONFERENCE
     ENTERPRISES COMPANY, et al.,
15                                                        Hearing Date:
                      Defendants.                         Hearing Time:
16
17         JOINT STIPULATION TO CONTINUE CASE MANAGEMENT CONFERENCE

18            This Joint Stipulation to Continue Case Management Conference is entered into between

19 Plaintiffs Roger McIntosh and Defendants Northern California Universal Enterprises, et al., by
20 and through their counsel of record, with reference to the following facts:
21            1.      A Case Management Conference is currently calendared for March 3, 2008, at 8:30

22 a.m.
23            2.      On February 21, 2008, Plaintiff McIntosh obtained new counsel to represent him in

24 this matter. A motion to substitute James Braze, of Borton Petrini, LLP, as McIntosh’s counsel of
25 record has been filed along with this Motion to Continue.
26            2.3.    Mr. Braze has not had an opportunity to meet and confer with defense counsel and

27 therefore requests that the case management conference be continued for a month so that counsel
28 have an opportunity to meet and confer, and prepare the joint case management statement.

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 1            4.      The parties propose the following revised case management schedule and

 2 deadlines:
 3                    4/7/08        Last day to meet and confer

 4                    4/14/08       Last day to file Case Management Statement

 5                    4/21/08       Case Management Conference

 6            IT IS THEREFORE STIPULATED that, subject to the approval of the Court, the Case

 7 Management Conference currently calendared for March 3, 2008, should be continued to April 21,
 8 2008, with all deadlines relating to the Case Management Conference continued accordingly.
 9
10
     Dated: February 22, 2008                            Respectfully submitted,
11
                                                         Plaintiff
12                                                       Roger McIntosh
13                                                       By his attorneys,
14
15                                                       Forrest A. Hainline III (SBN 64166)
                                                         E-Mail: fhainline@goodwinprocter.com
16                                                       Nicole E. Perroton (SBN 233121)
                                                         E-Mail: nperroton@goodwinprocter.com
17                                                       GOODWIN PROCTER LLP
                                                         Three Embarcadero Center, 24th Floor
18                                                       San Francisco, California 94111
                                                         Tel.: 415.733.6000
19                                                       Fax: 415.677.9041
20 Dated: February 22, 2008                              Defendants,
                                                         Northern California Universal Enterprises, et al
21
                                                         By its attorneys,
22
23                                                       ______________________________________
                                                         Steven J. Hassing (SBN 152125)
24                                                       LAW OFFICES OF STEVEN J. HASSING
                                                         425 Calabria Court
25                                                       Roseville, CA 95747
                                                         Tel: 916.677.1776
26                                                       Fax: 916.677.1770
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 1           [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE

 2
              For good cause shown in the Joint Stipulation to Continue Case Management Conference,
 3
     PURSUANT TO STIPULATION, IT IS SO ORDERED that the Case Management Conference
 4
     currently calendared for March 3, 2008, is continued to April 21, 2008 at 8:30am, with all
 5
     deadlines relating to the Case Management Conference continued accordingly.
 6
 7
 8 Dated: ___February 25, 2008___                        _/s/ Lawrence J. O’Neill_______________
                                                         HON. Lawrence J. O’Neill
 9
                                                         U.S. DISTRICT JUDGE
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